Case 1:23-cv-00108-LMB-JFA          Document 1454    Filed 06/04/25   Page 1 of 2 PageID#
                                          104242



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                      Plaintiffs,

        vs.                                            No: 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                      Defendant.


          GOOGLE LLC’S NOTICE OF CHANGE OF COUNSEL’S ADDRESS

 TO THE CLERK OF THE COURT AND ALL PARTIES:

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Case 1:23-cv-00108-LMB-JFA             Document 1454    Filed 06/04/25     Page 2 of 2 PageID#
                                             104243



  Dated: June 4, 2025                           Respectfully submitted,

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